                      Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 1 of 10

                                                                                                                     ■ 1-




     1   Your Name:          George Jarvis Austin

    2    Address:            2107 Montauban Court

    3    Phone Number: 209.915.6304
    4
                                                                                         filed
         Fax Number:
                                                                                                                            9^.
    5    E-mail Address: gaustinO?@ berkeley.edu
                                                                                           NOV 22i:02l

    6                                                                                   CLERK, U.S. DISTRICT COURT
         Pro Se Plaintiff                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                                                OAKLAND
    7

    8
                                                                                                   r
                                           UNITED STATES DISTRICT COURT

(^9
I   lU
                                          NORTHERN DISTRICT OF CALIFORNIA

                                                                                                                            SK
    11   George Jarvis Austin
                                                                C 21
                                                                Case Number   [leave blank]

    12
                                                                COMPLAINT
    13                       Plaintiff,

    14          vs.


    15   ABC Legal
                                                                DEMAND FOR JURY TRIAL
    16
                                                                Yes    No □
    17

    18

    19                       Defendant.

    20

    21                                                    PARTIES
            1. Plaintiff. [Write your name, address, and phone number. Add a page for additional
    22         plaintiffs.]
    23   Name:
                        George Jarvis Austin

    24
                           2107 Montauban Court
         Address:

                           209.915.6304
    25   Telephone:

    26

    27

    28



         COMPLAINT

         PAGE         OF      . [JDC TEMPLATE - Rev. 05/2017]
                Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 2 of 10

                                                                                                         -2-




 1      2. Defendants. [Write each defendant'sfull name, address, and phone number.^
2    Defendant 1:

3    Name:                  Legal
4    Address:
                       633 Yesler WaySeattle, WA 98104

5    Telephone:
                       (206) 521-2885

6

7    Defendant 2:

8    Name:

9    Address:

lU   Telephone:

11

12   Defendant 3:

13   Name:

14   Address:

15   Telephone:

16

17                                              JURISDICTION
     [Usually only two types ofcases can befiled infederal court, cases involving "federal questions"
18   and cases involving "diversity ofcitizenship." Check at least one box.}
19      3. My case belongs in federal court

20
       0under federal question jurisdiction because it is involves a federal law or right.
21   IWhichfederal law or right is invohed?] Retaliation, Discrimination, Title VII
22

23
        U under diversitv jurisdiction because none of the plaintiffs live in the same state as any of the
24   defendants and the amount of damages is more than $75,000.
25

26

27

28



     COMPLAINT

     PAGE         OF      ,[JDC TEMPLATE- Rev. 05/2017]
                 Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 3 of 10

                                                                                                            -3-




 1                                                     VENUE

2    [The counties in this District are: Alameda, Contra Costa, Del Norte, Humboldt, Lake, Marin,
     Mendocino, Monterey, Napa, San Benito, Santa Clara, Santa Cruz, San Francisco, San Mateo, or
 3   Sonoma. If one ofthe venue options below applies to your case, this District Court is the correct
     place tofile your lawsuit. Check the boxfor each venue option that applies.]
4

5           4.        Venue is appropriate in this Court because:
6                        a substantial part of the events I am suing about happened in this district.
7                  I I a substantial part of the property I am suing about is located in this district.
8                  I 11 am suing the U.S. government,federal agency, or federal official in his or her
9                        official capacity and I live in this district.
lU
                   □ at least one defendant is located in this District and any other defendants are
11                       located in California.

12

13                                     INTRADISTRICT ASSIGNMENT

14
     [This District has three divisions: (1) San Francisco/Oakland (2) San Jose; and (3) Eureka. First
     write in the county in which the events you are suing about happened, and then match it to the
15
     correct division. The San Francisco/Oakland division covers Alameda, Contra Costa, Marin, Napa,
16
     San Francisco, San Mateo, and Sonoma counties. The San Jose division covers Monterey, San
     Benito, Santa Clara, Santa Cruz counties. The Eureka division covers Del Norte, Humboldt, Lake,
17
     Mendocino counties, only if all parties consent to a magistrate judge.]

18                                                    Alameda
            5.        Because this lawsuit arose in                                     , County, it should be
19
     assigned to the San Francisco/Oakland                    Division of this Court.
20

21
                                            STATEMENT OF FACTS
22    [Write a short and simple description of the facts of your case. Include basic details such as where
      the events happened, when things happened and who was involved. Put each fact into a separate,
23    numbered paragraph, starting with paragraph number 6. Use more pages as needed.]
24
                  See attached.
25

26

27

28



     COMPLAINT

     PAGE        OF      . [JDC TEMPLATE - Rev. 05/2017]
              Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 4 of 10
George Jarvis (J).. Austin, esq.(TBA)
Austin V. ABC Legal, et. al. Case #TBA
240 E. Channel St. #1354 Stockton, CA 95202, or alternatively
2107 Montauban Ct, Stockton, CA 95210




                                     UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OE CALIFORNIA




         GEORGE J. AUSTIN,Plaintiff,                            Complaint

         V.




         ABC Legal

         Case No. TBA
              Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 5 of 10
George Jarvis (J).. Austin, esq.(TBA)
Austin V. ABC Legal, et. al. Case #TBA
240 E. Channel St. #1354 Stockton, CA 95202, or alternatively
2107 Montauban Ct., Stockton, CA 95210




                                                         FACTS


I took position that was fairly easy to complete (especially in comparison to maintaining Straight

A's the last 8 semesters, whUe being care-taker, recovering from injuiy, although time, and

sometime energy intensive, that allowed for previous on the job (leg injuries at Tesla), and (back

and neck injuries in car accident) to fuUy heal, and also pay a decent wage. However, while

working Plaintiff has experienced sabatoge, intentional discrimination, and animus(when inquriing

about concems from situations that emerged, and misinformation from a partner/colleague, etc).

Plaintiff went out of his way to inquire, foUow up, and proactively provide remedies for issues not

addressed by current advice, or not available on the current technology platform. Plaintiff received

specific mis-information from a colleague and their company training representative that hteraUy

told me the wrong timeframe for completing a set of projects. That misinformation which Plaintiff

rehed on set his timetable considerably back, and reached out not only for correction of that

specific issue, but the backlog and domino effect it had in the veiy short term. In another set of

projects Plaintiff was made aware of the company's abUily to extend the deadline for projects

(which could have happened with the first set, but not only did they refuse, but penahzed for their

own misinformation). No response or remedy has yet to be provided. Several technological

mishaps, irregularities, and errors emerged that prompted even more inquiry from Plaintiff to

ensure the correct procedures and processes were executed to produce smooth and excellent

results. Most recently after receiving some very curt tone from a colleague and inquiring was she

ok, because the inquiry and tone, didn't match (and was unproductive under circumstances

especially given the company's recommended course of action could bring negative legal action on

Plaintiff at no fault of his own and wanted to make aware of potential legal liabihty under present
               Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 6 of 10
George Jarvis (J).. Austin, esq.(TBA)
Austin V. ABC Legal, et. al. Case #TBA
240 E. Channel St. #1354 Stockton, CA 95202, or alternatively
2107 Montauban Ct., Stockton, CA 95210
practices). Plaintiff was seeking the best remedy to avoid or resolve as well as a framework going

forward to any similar circumstances that didn't neatly fit into current pattems, explanations, or

recommendations. Yet, again after speaking, and cc'ing key members of the team no response was

provided. Plaintiff received a follow up from Mindy Anderson, a key training member saying

exphcitly to contact her with questions, and Plaintiff did, which she initially responded to, but the

fundamental question, asked in the previous inquiry was never resolved, and the ongoing issues,

never corrected. Instead there has been an inexphcable, and without explanation, pause on his

workflow/assignments, and no direct questions are being answered.



                                                   JURISDICTION




Under Article III of the Constitution, Federal courts can hear "aU cases, in law and equity, arising

under this Constitution,[and] the laws of the United States..." See US Const, Art II, Sec. 2 The

Supreme Court has interpreted the clause broadly to hear any case with a federal ingredient. See

Osbom V. Bank of the United States, 9 Wheat.(22 U.S.)738(1824). Jurisdiction is proper under

Federal question jurispmdence. Because of issues of discrimination, retahation, and other wrongs,

as a Black man,the Federal Question Jurisdictional standard is met.




                                    INTENTIONAL DISCRIMINATION


ABC Legal's strange, and discriminatoiy conduct, singling out Plaintiff for inferior treatment, lack

of communication, misinformation (seemingly to set him up for a negative consequence without

correction or remedy, even though it was their own mistake(s)) and choices to violate pohcy, and

their own standard operating procedures, evidence disparate treatment of Plaintiff(who disclosed
               Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 7 of 10
George Jarvis (J).. Austin, esq.(TBA)
Austin V. ABC Legal, et. al. Case #TBA
240 E. Channel St. #1354 Stockton, CA 95202, or alternatively
2107 Montauban Ct., Stockton, CA 95210
protected statuses prior to entering contract with them). See Jauregui v. City of Glendale, 852 F.2d

1128,1134(9th Cir. 1988)("An individual suffers "disparate treatment" when ... "singled out and

treated less favorably....(prima facie case may he made "without any direct proof of

discriminatory motivation.").") See also McGinest v. GTE Serv. Corp., 360 F.3d 1103, 1121-22

(9th Cir. 2004).. .simply...demonstrating that a discriminatory reason more likely than not motivated

[is sufficient])). Compensatory, and punitive, damages are availahle for the harm inflicted by

Defendant's discriminatory behavior. See Hemmings v. Tidyman's Inc., 285 F.3d 1174,1195(9th

Cir. 2002) Utilizing the statutorily defined minimum standards for first person claimant as a

hasehne against which disparate treatment can he measured, the Ninth Circuit has held in multiple

cases that when factors indicate differential treatment hahflity ensues. See Pacific Shores

Properties, LLC v. City of Newport Beach, 730 F.3d 1142,1158 (9th Cir. 2013)("[Ninth Circuit]

cases clearly estabhsh that plaintiffs who allege disparate treatment under statutory

anti-discrimination laws 'need not' demonstrate ... a similarly situated entity ...treated better.)



                                                   RETALIATION


Plaintiff was Retahated against by Defendant ABC Legal for engaging in Constitutionally

protected activity, and alerting the company that there was misinformation provided by them, or

their company representatives, causing detriment to him and his safety. Instead of a proactive

response, or even a response at aU Plaintiff was retaliated against to his detriment, and against

company policy, and the law. Under 42 U.S.C. § 1983 a Retahation in Violation of Federal Civil

Rights, or "claims [of] retaliation for exercising a constitutional right, the majority of federal courts

require the plaintiff to prove that(1)he or she was engaged in constitutionally protected activity,

(2)the defendant's retaliatory action caused the plaintiff to suffer an injury that would hkely deter a
               Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 8 of 10
George Jarvis (J).. Austin, esq.(TBA)
Austin V. ABC Legal, et. al. Case #TBA
240 E. Channel St. #1354 Stockton, CA 95202, or alternatively
2107 Montauban Ct., Stockton, CA 95210
person of ordinary firmness from engaging in that protected activity, and (3)the retaliatory action

was motivated, at least in part, by the plaintiff's protected activity." See Tichinin, supra, 177

Cal.App.4th at pp. 1062-1063. According to the Department of Justice's Federal Coordination

and Compliance Section TITLE VILEGAL MANUAL "It is well-settled that Title VI supports

retaliation claims. See, e.g., Peters v. Jenney, 327 F.3d 307, 318(4th Cir. 2003); Chandamuri v.

Georgetown Univ., 274 F. Supp. 2d 71, 83(D.D.C. 2003); Gutierrez v. Wash. Dep't of Soc. &

Health Servs., CV-04-3004-RHW, 2005 WL 2346956, at *5(E.D. Wash. Sept. 26, 2005). The

Supreme Court has defined retaliation as an intentional act in response to a protected action. See

Jackson v. Birmingham Ed. of Educ., 544 U.S. 167, 173-74(2005). The complained of matter

need not be a complaint; it can be any lawful conduct that an individual engages in connected with

a protected right. "The very concept of retaliation is that the retaliating party takes action against

the party retaliated against after, and because of, some action of the latter." See Fed. Mar. Bd. v.

Isbrandtsen Co., 356 U.S. 481, 514(1958). It carries with it the notion of "getting even." See id.

As noted in a 2011 law review article: Retaliation is a deliberate action used to send a clear

message that complaining is unwelcome and risky. It is employed to instill fear in others who might

consider making a complaint in the future. Those with cause for complaining are frequently among

the most vulnerable in an institution. Once they complain, they are labeled "troublemakers."

Retaliation, and the fear of retaliation, becomes a potent weapon used to maintain the power

structure within the institution. See Ivan E. Bodensteiner, The Risk of Complaining^Retaliation,

38 J.C. &U.L. 1, 1(2011)."

                                           BREACH OF CONTRACT


ABC Legal's discriminatory, negligent, and retahatory conduct and communication (or intentional

non-communication to Plaintiff's detriment)is in breach of their contract with Plaintiff(according
               Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 9 of 10
George Jarvis (J).. Austin, esq.(TBA)
Austin V. ABC Legal, et. al. Case #TBA
240 E. Channel St. #1354 Stockton, CA 95202, or alternatively
2107 Montauban Ct., Stockton, CA 95210
to their own standards, policy, contract language, as weU as the law)both it's plain terms, as well as

imphed covenant of good faith and fair dealing. See Pyramid Techs., Inc. v. Hartford Cas. Ins.

Co., 752 F.3d 807, 818(9th Cir. 2014)("To succeed on its breach of contract claim,[Plaintiff]

establish[ed] a contract, [Plaintiff's] performance ..., [Insurer Kemper's]breach, and resulting

damages to [Plaintiff]). Here the breach is multifold in that Plaintiff was provided initial

misinformation, based on the companies response to that apparently intentionally, to set up for a

negative consequence. The follow up negative response pattern, at times apparentiy intentionally

insulting, discrlminatoiy, or threatening by member of their team, to the point I had to ask whether

that person was"OK?" demonstrates breaches to the letter and spirit of the contract.



                                                       REMEDY


Plaintiff seeks all available remedies including compensatory, and punitive damages.
               Case 3:21-cv-09076-SI Document 1 Filed 11/22/21 Page 10 of 10

                                                                                                       ■7-




 1                                            DEMAND FOR RELIEF
       [State what you want the Court to do. Depending on your claims, you may ask the Court to award
 2     you money or order the defendant to do something or stop doing something. If you are asking for
       money, you can say how much you are asking for and why you should get that amount, or describe
 3
       the different kinds of harm caused by the defendant.]
 4

 5

 6

 7

 8

 9

lU


11

12

13

14

15
                                           DEMAND FOR JURY TRIAL
16   [Check this box if you want your case to be decided by a jury, instead of a judge, if allowed.]
17
               I ^ I Plaintiff demands a jury trial on all issues.
18

19

20
                                                      Respectfully submitted.
21

22
     Date:   11/18/21                   Sign Name:
23
                                        Print Name:     George Jarvis Austin
24

25

26

27

28



     COMPLAINT

     PAGE       OF      . [JDC TEMPLATE - 05/17]
